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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

United States of America,

               Plaintiff,

v.
                                                    Criminal No. 14-20209
D-1 Demas Hernandez Cortez and                      Honorable Sean F. Cox
D-2 Sarah Ann Calvetti,

            Defendants.
_____________________________/

     OPINION AND ORDER DENYING DEFENDANT SARAH ANN CALVETTI’S
            MOTION TO SUPPRESS STATEMENTS AND CONSENT

       In this action, Defendants Sarah Ann Calvetti (D2) (“Calvetti”) and Demas Hernandez

Cortez (D1) (“Cortez”) (collectively, “Defendants”) are charged in an Indictment (Doc. #10) with

Conspiracy to Possess with Intent to Distribute and To Distribute Cocaine, Possession with Intent

to Distribute More than 5 Kilograms of Cocaine, and Aiding and Abetting.

       On May 13, 2014, Defendant Calvetti filed a Motion to Suppress Statements (Doc. #20).

The Government filed a Response (Doc. #24). The Court held an evidentiary hearing on the motion

on Thursday, June 19, 2014. For the reasons set forth below, the Court shall DENY Defendant

Calvetti’s Motion to Suppress Statements.

                                       BACKGROUND

       Defendants were indicted in this action on April 8, 2014. (Doc. #10). The indictment

charged Defendants with Conspiracy to Possess with Intent to Distribute and To Distribute Cocaine,

in violation of 21 U.S.C. sections 846, 841(a)(1) and 841(b)(1)(A)(ii)(II); Possession with Intent

to Distribute More than 5 Kilograms of Cocaine, in violation of 21 U.S.C. sections 841(a)(1) and

841(b)(1)(A)(ii)(II); and Aiding and Abetting, in violation of 18 U.S.C. section 2. These charges
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follow a traffic stop and search of Defendants’ vehicle as it was traveling on I-75 North in Monroe,

Michigan, as well as a subsequent search of Calvetti’s home in Dearborn Heights, Michigan.

                     Defendant Calvetti’s Motion to Suppress Statements

       On May 13, 2014, Defendant Calvetti filed a Motion to Suppress Statements (Doc. #20). In

her motion, Calvetti asks the Court to suppress statements she made to DEA Special Agent Jeffrey

Moore (“Special Agent Moore”) during a police interview after she was taken into custody. Calvetti

argues that although she signed a form indicating that she did not wish to speak to agents, law

enforcement agents violated her Fifth Amendment rights by continuing to question her. Calvetti also

argues that her consent to search her home should be suppressed because it is “tainted” by the Fifth

Amendment violation.

       The Government responds that, under the totality of the circumstances, Calvetti waived her

right to remain silent by freely volunteering to speak with agents after she signed the waiver form.

The Government maintains that the agents did not engage in any coercive conduct and that no facts

support a finding that Calvetti’s statements were made involuntarily.

                                      Evidentiary Hearing

       With the issues so framed by the parties, this Court held an evidentiary hearing on June 19,

2014. As its sole witness, the Government presented Drug Enforcement Administration Special

Agent Jeffrey Moore. The Government introduced two exhibits into evidence: Government’s

Exhibit Number 1 - Defendant Calvetti’s Miranda Waiver Form; and Government’s Exhibit Number

2 - Defendant Cortez’s Miranda Waiver Form.


                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Having observed the evidence and the witness who testified at the evidentiary hearing,

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allowing for this Court to assess credibility, having considered the arguments presented by counsel,

and having applied the governing legal principles, the Court makes the following findings of fact

and conclusions of law.1

       On March 26, 2014 in the early afternoon, Defendants Calvetti and Cortez were traveling

northbound on Interstate 75 in Monroe County, Michigan. Defendant Calvetti was driving a blue

van, and co-Defendant Cortez was her only passenger.

       Michigan State Trooper Craig Ziecina (“Trooper Ziecina”) was monitoring traffic on

northbound I-75 in Monroe County, Michigan when he observed Defendants’ blue minivan driving

down the expressway. According to Trooper Ziecina, Defendants’ vehicle was traveling at about

52 miles per hour, which is below the posted minimum speed limit of 55 miles per hour. The

Government also claims that Trooper Ziecina witnessed Defendants’ vehicle complete a lane change

without signaling.

       Trooper Ziecina initiated a traffic stop of Defendants’ vehicle. At some point during the

traffic stop, Trooper Ziecina then conducted a canine sniff search and a manual search of the vehicle,

during which he discovered sixteen (16) kilograms of cocaine hidden in a trap storage compartment

inside the van. Defendants were placed under arrest and taken to the DEA Detroit Field Office.

       At the DEA Detroit Field Office, Defendant Calvetti was interviewed by Special Agent

Moore. Agent Moore apprised Calvetti of her Miranda rights and presented her with a Miranda

waiver form. Defendant Calvetti indicated on the form that she understood her Miranda rights, and

did not wish to speak with the agents. Nevertheless, Special Agent Moore continued to ask



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          To the extent that a finding of fact is more properly a conclusion of law, and the to the
extent that a conclusion of law is more properly a finding of fact, it should be so construed.

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questions of her. Defendant Calvetti answered Special Agent Moore’s questions, and eventually

gave consent to search her home at 25455 Princeton, Dearborn Heights, Michigan (“the Dearborn

Heights home”). At no time did Defendant Calvetti ask for an attorney or say that she did not want

to answer Special Agent Moore’s questions.

                                           ANALYSIS

A)     Was Defendant’s Statement Taken In Violation Of Her Fifth Amendment Right to
       Silence?

       “The Supreme Court held in Miranda v. Arizona, 384 U.S. 436, 478-79, 86 S.Ct. 1602, 1630,

16 L.Ed.2d 694 (1966) that a suspect subject to custodial interrogation must first be given notice of

his or her right against self-incrimination.” United States v. Swanson, 341 F.3d 524, 528 (6th Cir.

2003). “Where a suspect unequivocally invokes his or her right to remain silent, the police must

stop questioning and must honor the suspect’s demand.” Taylor v. Lafler, 2003 WL 22284561 at

*10 (E.D. Mich. Sept. 19, 2003), citing Michigan v. Mosley, 423 U.S. 96 (1975).

       Statements made by a defendant in response to interrogation while in police custody may be

admissible if the defendant has first been apprised of the constitutional right against self-

incrimination and has voluntarily, knowingly, and intelligently waived this right. United States v.

Cole, 315 F.3d 633, 636 (6th Cir. 2003) (citing Miranda v. Arizona, 384 U.S. 436, 478-79 (1966));

see also U.S. v. Lawrence, 735 F.3d 385, 437 (6th Cir. 2013). “The inquiry as to whether there was

a valid waiver has two components.” United States v. Wilkerson, 76 Fed. Appx. 657, 658 (6th Cir.

2003). “First, the relinquishment of the right must have been voluntary in the sense that it was the

product of a free and deliberate choice rather than intimidation, coercion, or deception. Second, the

waiver must have been made with a full awareness of both the nature of the right being abandoned



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and the consequences of the decision to abandon it.” Id., citing Moran v. Burbine, 475 U.S. 412,

421 (1986).

       A waiver of rights can be inferred where a defendant has been informed of his or her rights

and indicates understanding, but does nothing to invoke those rights. U.S. v. Nichols, 512 F.3d 789

(6th Cir. 2008). For example, courts have held that “a defendant’s subsequent willingness to answer

questions after acknowledging his Miranda rights is sufficient to constitute an implied waiver.”

Porfilio v. Hubbard, 11 Fed. App’x 973, 975 (9th Cir. 2001), citing Burket v. Angelone, 208 F.3d

172, 198 (4th Cir.2000) (citation omitted); see also Cazares, 121 F.3d at 1244; United States v.

Velasquez, 626 F.2d 314, 320 (3d Cir. 1980); United States v. Stark, 609 F.2d 271, 272-73 (6th Cir.

1979) (per curiam); see also Edwards v. Arizona, 451 U.S. 477, 484 (1981) (“we have held that after

initially being advised of his Miranda rights, the accused may himself validly waive his rights and

respond to interrogation.”).

       The Court finds that Defendant Calvetti freely and voluntarily waived her right to silence.

Defendant was apprised of her constitutional rights pursuant to Miranda v. Arizona, including her

right to remain silent. After being apprised of her Miranda rights, and signing a form indicating that

she understood her rights, Defendant Calvetti answered Agent Moore’s questions. Therefore, the

Court finds that Defendant Calvetti impliedly waived her Miranda rights, and thus her Fifth

Amendment rights were not violated.




B)     Was Defendant’s Consent To Search Freely And Voluntarily Given?

       Defendant argues that her consent to search the Dearborn Heights home was “tainted” by the

Fifth Amendment violation, and therefore the consent is invalid and the search is unreasonable per

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the Fourth Amendment. Essentially, Defendant argues that the consent to search and evidence

obtained during the search must be suppressed as “fruit of the poisonous tree.”

       Finding no Fifth Amendment violation, the Court further finds that Defendant’s argument

is without merit. Therefore, the Court shall DENY Defendant’s Motion to Suppress Consent to

Search. (Doc. #20).

       IT IS SO ORDERED.

                                             S/Sean F. Cox
                                             Sean F. Cox
                                             United States District Judge

Dated: July 29, 2014

I hereby certify that a copy of the foregoing document was served upon counsel of record on July
29, 2014, by electronic and/or ordinary mail.

                              S/Jennifer McCoy
                              Case Manager




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